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                        EXHIBIT B

DECLARATION OF MATTHEW A. BARRETO
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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND
                                  (Northern Division)



 BALTIMORE COUNTY BRANCH OF THE
 NATIONAL ASSOCIATION FOR THE
 ADVANCEMENT OF COLORED PEOPLE, et al.,

                               Plaintiffs,
                                                              Civil Action No. LKG-21-03232
 v.

 BALTIMORE COUNTY, MARYLAND, et al.,

                               Defendants.


                  THIRD DECLARATION OF MATT BARRETO, PH. D.

       1.      I have previously executed two declarations that were both submitted in this action.

The first was executed on January 18, 2022 (ECF 28-3) and the second on February 7, 2022 (ECF

41-1). Additionally, I testified via Zoom on February 15, 2022 as part of the Court’s hearing on

Plaintiffs’ Motion for Preliminary Injunction. Since then, I have reviewed Defendant Baltimore

County’s Motion for Approval of Proposed Redistricting Map and to Modify Preliminary

Injunction (ECF 57), the accompanying proposed Councilmanic Redistricting Map (ECF 57-3),

and the Supplemental Declaration of Dr. James G. Gimpel, Ph.D. (ECF 57-6).

       2.      As explained in my prior declarations, in this matter I have been working with Dr.

Kassra Oskooii, tenured professor of Political Science at the University of Delaware.

       3.      On March 8, 2022, Baltimore County submitted a new map for consideration

following the Court’s finding that the redistricting plan it initially adopted violates the Voting

Rights Act. However, this new map consisted of a PDF file and did not contain the necessary
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shapefiles to allow an analysis. I asked counsel to communicate with Baltimore County and

provide us with the shapefiles.

          4.    On March 9, 2022, I received shapefiles from Baltimore County that I was able to

merge with election data, and then extract the list of election precincts assigned to each of the

seven councilmanic districts by the new proposed map.

          5.    After having carefully reviewed the population demographics and the election

results associated with the new map, my conclusion is that the County’s revised map does not

provide Black voters with a fair opportunity to elect candidates of their choice.

          6.    The population demographics in the new District 2 continue to keep the Black

voting age population well below a majority (at 41%), while the white, non-Hispanic voting age

population (46%) outnumbers the Black population. In maps submitted by the plaintiffs as part of

their Motion for Preliminary Injunction, it was clear that two majority-Black VAP districts can be

created in Baltimore County. The map offered by the County falls well short of this benchmark.

          7.    Beyond the population demographics, a far more important metric is performance

analysis, which can determine if the amalgamation of precincts in Baltimore County’s newly

proposed District 2 will allow Black voters to elect candidates of their choice. Similar to the

performance analysis we provided for the preliminary injunction hearing, Dr. Oskooii and I took

the set of precincts which the County proposes in District 2 and evaluated critical elections in

which Black candidates faced off against white candidates. Our conclusion is that from the

standpoint of electability, the proposed map does not perform for Black voters’ candidates of

choice.
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           Table 1: Performance analysis of elections with Black-preferred candidates

                                      D1                   D2                    D4
                 Hogan                55.0%                45.0%                 32.5%
                 Brown                42.4%                53.3%                 65.8%


                 Van Hollen           51.6%                57.2%                 36.9%
                 Edwards              39.4%                37.4%                 57.0%


                 Hogan                54.6%                50.2%                 36.3%
                 Jealous              44.1%                49.0%                 62.7%

          8.      In particular, the proposed district does not give Black voters an opportunity to elect

their candidates of choice in either one of the most recent elections: the 2016 Democratic primary

election and the 2018 general election.1 While the new district has increased the Black population

in District 2, it has not increased it to the level needed to overcome white bloc in the area, and to

allow Black voters to elect candidates of choice. Therefore, the Black population will very likely

continue to see their preferred candidates lose out.

          9.      In contrast, the revised map proposed by Plaintiffs’ expert William S. Cooper

makes necessary changes to increase the Black voting age population, and our analysis suggests

that it will create a district which gives Black voters the opportunity to elect candidates of their

choice.




1
  “Courts have found recent elections to be the most probative" in determining if there has been a violation of
Section 2 of the VRA. U.S. V. Charleston County, 316 F.Supp. 2d 268, n. 13 (D.S.C. 2003), aff'd 365 F.3d 341, 350
(4th Cir. 2004) citing Ruiz v. City of Santa Maria, 160 F.3d 543, 555 (9th Cir.1998); Uno v. City of Holyoke, 72 F.3d
973, 990 (1st Cir.1995); Meek v. Metro. Dade County, Fla., 985 F.2d 1471, 1482–83 (11th Cir.1993).
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I declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge,

information, and belief.




Executed on March 10, 2022
